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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                             DALLAS DIVISION

ZENIMAX MEDIA INC. AND ID SOFTWARE
LLC,
                                               Civil Action No. No. 3:17-cv-01288-D
           Plaintiffs,

     v.                                        JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS CO., LTD. AND
SAMSUNG ELECTRONICS AMERICA, INC.,

           Defendants.

               DEFENDANTS’ MOTION TO STAY PROCEEDINGS
                PENDING THE RESOLUTION OF THE RELATED
                  OCULUS MATTER AND BRIEF IN SUPPORT

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        This case should be stayed because Plaintiffs’ allegations mirror their case against

Defendants’ licensor, which was tried to a jury and is awaiting entry of judgment in Judge

Kinkeade’s court. Proceeding with this case before the other has concluded risks inconsistent

rulings, judicial inefficiency, and wasteful relitigation of overlapping issues. Waiting on that

case would not prejudice Plaintiffs, as a stay would not impair any remedy on claims that remain

after their other case concludes.

        Samsung Electronics Co., Ltd. and Samsung Electronics America, Inc. (collectively,

“Samsung”) request the Court to stay this case pending the adjudication of the post-trial and

appellate proceedings in ZeniMax Media Inc. v. Oculus VR LLC, No. 3:14-CV-01849-K

(N.D. Tex.) (the “Oculus Litigation”).

I.      Introduction.

        In this case, Plaintiffs ZeniMax Media Inc. and id Software LLC (collectively,

“ZeniMax”) allege that Oculus VR LLC’s (“Oculus”) virtual reality (“VR”) technology violates

ZeniMax’s intellectual property rights. ZeniMax also alleges that Samsung is somehow liable to

ZeniMax because Oculus licensed its VR technology to Samsung.               These allegations are

essentially identical to ZeniMax’s allegations in the Oculus Litigation. Although Samsung was

not a party to the Oculus Litigation, the final outcome of that case will impact, and indeed

decide, factual and legal issues at the center of this litigation. Samsung therefore asks the Court

to stay this case pending final resolution of the Oculus Litigation.

        ZeniMax raises substantially overlapping factual and legal issues in the Oculus Litigation

and this case, including: whether Oculus misappropriated alleged ZeniMax trade secrets; whether

the “Oculus Mobile SDK” infringes ZeniMax copyrights; whether Defendants disclosed any

protected ZeniMax information in violation of a contract; whether the parties engaged in unfair

competition; and whether ZeniMax has suffered any ongoing harm.               See First Amended


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Complaint, ECF No. 12 at 25−35. Proceeding with this case while ZeniMax litigates these same

issues before Judge Kinkeade (and then likely the Fifth Circuit) would waste judicial resources.

Proceeding would also risk inconsistent decisions, or decisions that could be undone entirely by

another court. When a final outcome is reached in the Oculus Litigation, issues ultimately

decided against ZeniMax will have dispositive repercussions here.

         In sum, a stay would avoid the potential waste of judicial and party resources created by

inconsistent rulings and other inefficiencies. These inefficiencies would likely result if this case

proceeds before the Oculus Litigation comes to an end.

II.      Background.

A.       ZeniMax sued Oculus on claims related to VR technology.

         In May 2014, ZeniMax sued Oculus and its founder, Palmer Luckey. It later joined

additional defendants, Facebook Inc., Brendan Iribe, and John Carmack (all five collectively, the

“Oculus Defendants”).        ZeniMax brought a variety of claims, including trade secret

misappropriation, copyright infringement, breach of contract, tortious interference, and unfair

competition. See Oculus Second Amended Complaint, A045-A058, Ex. A at 44−57. All of

those claims shared a common factual core: ZeniMax alleged that the Oculus Defendants

wrongfully took information and used that information to develop VR technology (that they

eventually licensed to Samsung). Id. at A002-003, Ex. A at 1−2.

B.       ZeniMax raised particular factual and legal issues against Oculus.

         ZeniMax alleged in the Oculus Litigation that it “provided [] [Oculus] with access to

intellectual property developed by ZeniMax,” including “copyrighted computer code, trade

secret information, and technical know-how.”        Oculus Second Amended Complaint, A002,

Ex. A at 1. That case went to trial in January 2017. Among other things, ZeniMax asked the

jury whether Oculus’s conduct or Software Development Kit code (“SDK”) misappropriated


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ZeniMax trade secrets related to “programming code, methods, plans, designs, concepts,

improvements, modifications, research data and results, and know-how related to virtual reality

headsets,” or virtual reality trade secrets related to “latency reduction . . . head and neck

modeling . . . predictive tracking . . . distortion,” and more. Id. at A045. ZeniMax asked the jury

whether the Oculus SDK infringed specific ZeniMax copyrights. See Oculus Litigation Jury

Verdict, No. 3:14-CV-01849-K, ECF No. 914 at 21. It also asked the jury whether Oculus’s

conduct and alleged use of ZeniMax materials amounted to tortious interference or unfair

competition. See id. at 49, 53. ZeniMax then argued to the jury that Samsung VR’s products

rely on the Oculus materials that encompass ZeniMax’s trade secrets and copyrighted materials.

See, e.g., ECF 944 at 128.

C.      The Oculus Litigation jury decided issues litigated in that case.

        The jury found that none of the Oculus Defendants misappropriated any ZeniMax trade

secrets and that none of them were liable for tortious interference or unfair competition.

See Oculus Litigation Jury Verdict, No. 3:14-CV-01849-K, ECF No. 914 at 18, 51, 56. But the

jury found in favor of ZeniMax on its claims for copyright infringement, breach of Non-

Disclosure Agreement (the “NDA”), and trademark infringement. See id. at 35−36, 38−39

(copyright); 45−46, 48 (NDA); 71, 73, 75 (trademark). The Oculus parties have filed post-trial

motions, which were heard by Judge Kinkeade on June 20, 2017. Judge Kinkeade has not yet

entered judgment.

D.      ZeniMax now has sued Samsung raising largely-overlapping issues and claims.

        Despite its long-standing knowledge of Samsung’s involvement with Oculus, ZeniMax

chose not to sue or join Samsung in the Oculus Litigation. Nearly three years after initiating the

Oculus Litigation, ZeniMax now has decided to sue Samsung, raising issues essentially identical

to those in the Oculus Litigation—that through tortious interference and unfair competition,


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Oculus created code that contains stolen ZeniMax trade secrets and copyrighted materials, and

that the very same code powers the Samsung Gear VR products. See First Amended Complaint,

ECF No. 12 at 2−3. Many of these same factual and legal issues were decided against ZeniMax

in the Oculus Litigation; such determinations are binding against ZeniMax under the doctrine of

collateral estoppel (or issue preclusion). But rather than waiting for the Oculus courts to finish

their work, ZeniMax rushed to this Court, apparently in an effort to secure a different result on

the same issues. 1 Because those overlapping issues will have a direct impact on the validity of

ZeniMax’s claims against Samsung, this case should not proceed until the Oculus Litigation

reaches its final conclusion.

III.    The Court Should Stay This Case Pending Final Resolution Of The Oculus
        Litigation.

A.      This Court should stay this case out of concern for judicial efficiency.

        This Court has broad discretion to stay this action pending resolution of the Oculus

Litigation, and should exercise that discretion.              A court’s power to stay proceedings “is

incidental to the power inherent in every court to control the disposition of the causes on its

docket with economy of time and effort for itself, counsel, and for litigants.” Landis v. N. Am.

Co., 299 U.S. 248, 254 (1936); Miramore Trust v. United Van Lines, LLC, No. 3:15-CV-3049-D,

2017 WL 661374, at *4 (N.D. Tex. Feb. 17, 2017) (Fitzwater, J.); Greco v. Nat’l Football

League, 116 F. Supp. 3d 744, 761 (N.D. Tex. 2015) (Lynn, J.). Where substantially similar

issues are currently pending in another trial or appellate court—as is true in this case—courts

frequently exercise their discretion to stay cases. See Wolf Designs, Inc. v. Donald McEvoy Ltd.,

341 F. Supp. 2d 639, 645−46 (N.D. Tex. 2004) (Fish, C.J.) (staying case while previously filed


1
 ZeniMax failed to comply with Local Rule 3.3, which requires the Plaintiff to file with the Complaint a Notice of
Related Case because this lawsuit and Oculus “arise[] from a common nucleus of operative fact.” N.D. Tex. L.R.
3.3(a), (b)(3).


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related case was pending in another district court because of the substantial overlap of claims,

questions of fact, and discovery); see also Greco, 116 F. Supp. 3d at 761 (“A court is within its

discretion to grant a stay when a related case with substantially similar issues is pending before a

court of appeals.”) (citing Trinity Indus., Inc. v. 188 L.L.C., No. 3:02-CV-405-H, 2002 WL

1315743, at *3 (N.D. Tex. June 13, 2002) (Sanders, J.)); Cont’l Holdings, Inc. v. Liberty Mut.

Ins. Co., No. CIVA 09-00595, 2009 WL 3179257, at *1 (W.D. La. Sept. 29, 2009) (staying

district court proceedings because the issues on appeal were the same issues that defined that

case, and “the Fifth Circuit’s decision will bind this Court”).

       Courts stay subsequently-filed cases with related subject matter because of the inherent

“judicial efficiency in terms of the simplifying [] of issues, proof, and questions of law which

could be expected to result from a stay.” Coker v. Select Energy Servs., LLC, 161 F. Supp. 3d

492, 495 (S.D. Tex. 2015) (“Staying a case pending in a district court in the Fifth Circuit is

appropriate when the district court anticipates that the Fifth Circuit will issue a ruling in an

unrelated case that addresses unresolved issues in the stayed case.”).

           1. The Court should stay this case to avoid duplicative litigation and
              inconsistent rulings.

       The parties here will call upon this Court to decide issues that presently are pending

before Judge Kinkeade (and likely will be taken up by the Fifth Circuit) in the Oculus Litigation.

This is the archetypal case for a stay—where another court in an earlier filed case has the power

to “render an effective judgment on issues that are necessary to the disposition of the stayed

litigation.” Cont’l Holdings Inc., 2009 WL 3179257, at *1 (staying district court proceedings

pending Fifth Circuit decision on same issues). “Where two actions involving the same parties

and the same issues are pending before two federal courts, it has been held that the court in

which the second proceeding is initiated will normally, in the absence of countervailing factors,



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stay the proceeding pending the outcome of the prior similar suit[.]” Nelson v. Grooms, 307 F.2d

76, 78 (5th Cir. 1962).

       There is substantial overlap of issues between the two ZeniMax cases; they are based

upon similar allegations of wrongful conduct and the same technology. Final resolution of the

issues ZeniMax lost in the Oculus Litigation will have preclusive effect in this case and therefore

simplify, and potentially eliminate, some or all of ZeniMax’s claims. See Adaptix, Inc. v.

Pantech Wireless, Inc., No. 6:13CV778, 2016 WL 7364674, at *2 (E.D. Tex. Jan. 12, 2016)

(“Staying the case pending the appeal of the [related case] will promote judicial efficiency and

conserve the parties’ resources by alleviating the need at this time for briefing and consideration

of [the pending] preclusion motion.”). For example, the issue of whether any Oculus technology

misappropriated ZeniMax trade secrets was fully litigated in the Oculus Litigation. If a final

Oculus Litigation judgment concludes that Oculus technology does not misappropriate any such

secrets, ZeniMax would be barred from relitigating the same issue in this case because ZeniMax

bases its trade secrets claim solely on the same Oculus technology—no other aspects of the

Samsung Gear VR products. See Taylor v. Sturgell, 553 U.S. 880, 892 (2008) (issue preclusion

“bars successive litigation of an issue of fact or law actually litigated and resolved in a valid

court[.]”) (citation and internal quotation marks omitted). Neither the parties nor this Court need

to expend resources on a failed trade secrets claim. The same is true for the other issues on

which the jury ruled against ZeniMax (tortious interference, unfair competition) and any issue

that ZeniMax litigated but might lose as a matter of law (e.g., breach of contract, copyright

infringement) in the post-trial proceedings or on appeal.

       ZeniMax alleges that the technology used by Samsung is the same technology at issue in

the Oculus Litigation, and was acquired through the Oculus Defendants. The similarity of the




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complaint language in the Oculus Litigation and in this case demonstrates the overlap of

allegations and issues in the two cases. In the following table, bold face type is used to show

examples of where identical language appears in the two complaints:

   Oculus Second Amended Complaint                 Samsung First Amended Complaint
                (Ex. A)                                     (ECF No. 12)

• Oculus Defendants misappropriated “valid      • Samsung improperly acquired access
  and enforceable trade secrets” of               through Oculus to “valid and enforceable
  ZeniMax      related    to    “confidential     trade secrets” of ZeniMax and
  programming code, methods, plans,               misappropriated those trade secrets related
  designs,     concepts,      improvements,       to “confidential programming code,
  modifications, research data and results,       methods, plans, designs, concepts,
  and know-how related to virtual reality         improvements, modifications, research
  headsets; interfaces between virtual            data and results, and know-how related
  reality    headsets     and     interactive     to virtual reality headsets; interfaces
  entertainment content and/or software;          between virtual reality headsets and
  sensors     and     optical    components       interactive entertainment content and/or
  calibration; latency reduction; low-            software;      sensors     and      optical
  latency      head-tracking,      including      components        calibration;     latency
  positional and absolute tracking; head          reduction; low-latency head-tracking,
  and neck modeling; predictive tracking;         including positional and absolute
  chromatic       aberration      reduction;      tracking; head and neck modeling;
  distortion, motion blur, and jitter/judder      predictive       tracking;      chromatic
  reduction; pre-warping of displayed             aberration reduction; distortion, motion
  images; combining and selecting devices,        blur, and jitter/judder reduction; pre-
  displays, cables, optics, and related           warping of displayed images; combining
  hardware solutions best-suited for              and selecting devices, displays, cables,
  improving the user’s virtual reality            optics, and related hardware solutions
  experience; minimizing or removing the          best-suited for improving the user’s
  “screen door” effect on the display;            virtual reality experience; minimizing or
  minimizing simulator sickness and/or            removing the ‘screen door’ effect on the
  motion sickness for users; and creating a       display; minimizing simulator sickness
  commercially viable virtual reality             and/or motion sickness for users.” ECF
  headset.” A045, Ex. A at 44.                    No. 12 at 27.
• Oculus        misappropriated       “valid,   • Through           Oculus,        Samsung
  enforceable trade secrets in the                misappropriated “valid, enforceable trade
  confidential, proprietary components of         secrets in the confidential, proprietary
  ZeniMax’s ‘DOOM 3: BFG Edition’                 components of ZeniMax’s ‘DOOM 3:
  computer program code.” A045, Ex. A             BFG Edition’” “computer program
  at 44.                                          code.” ECF No. 12 at 27−28.
• The Oculus Defendants “copied, publicly       • Samsung had access to ZeniMax
  displayed, and distributed products             copyrighted materials through [the Oculus
  (including versions of Oculus Software          Defendants] and has “copied, publicly


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    Oculus Second Amended Complaint                   Samsung First Amended Complaint
                 (Ex. A)                                       (ECF No. 12)

  Development Kits (“Oculus SDKs”))                  displayed, and distributed products,
  derived from ZeniMax’s Copyrighted                 such as [“Oculus Mobile SDK and
  Materials in whole or in part, and will            related software required for the
  continue to do so.” A048, Ex. A at 47.             Samsung Gear VR to function”], that
                                                     utilize or are derived from ZeniMax’s
                                                     Copyrighted Materials in whole or in
                                                     part, and will continue to do so.” ECF
                                                     No. 12 at 26.
• “Facebook interfered with the [NDA] by           • “Samsung interfered with the . . . NDA
  willfully and intentionally causing                by willfully and intentionally causing
  Oculus and Luckey to use ZeniMax’s                 Carmack, Luckey, and Oculus to use
  Contract protected Information for a               ZeniMax’s contract-protected
  purpose not approved by ZeniMax[.]”                information without permission[.]” ECF
  A051, Ex. A at 50.                                 No. 12 at 36.

• The Oculus Defendants engaged in unfair          • “In partnership with Oculus,” Samsung
  competition by depriving “ZeniMax of the           engaged in unfair competition by depriving
  control and dissemination of proprietary           “ZeniMax        of    the   control   and
  inventions and confidential know-how               dissemination of proprietary inventions
  concerning” virtual reality technology.            and confidential know-how concerning”
  A052, Ex. A at 51.                                 virtual reality technology. ECF No. 12 at
                                                     33.


       Here, a stay would promote judicial efficiency because the outcome of the related case

and appeal could “determine the appropriateness and necessity of the case before this Court.”

Trinity, 2002 WL 1315743, at *3. In Trinity the parties disputed payment of a railcar repair

contract. Id. at *1. The plaintiff failed to inform the court that there was a related case involving

the same issue and awaiting a decision from the Seventh Circuit. Id. Before filing an answer to

the complaint, the defendant moved for a stay pending the Seventh Circuit decision. Id. In

granting a stay, the court concluded that “[i]t would be inefficient to proceed with this case only

to find that the [first] case was later remanded and that the parties were litigating the same issues

in two separate cases.” Id. at *3. Therefore, Judge Sanders chose to stay proceedings until the

court of appeals had a chance to rule. Id. The same is true here. The final resolution of the


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Oculus Litigation would promote judicial efficiency because it would inform the Court and the

parties of the “appropriateness and necessity” of this case, and of the issues, if any, that truly

need to be litigated. See id.

       Judge Fish’s decision in Wolf Designs, Inc. is similarly instructive. 341 F. Supp. 2d at

639. There, two cases concerned the same product and the same patent. Id. at 643. Although, as

here, the defendants in the second case were different, the court recognized that the presence of

identical defendants was not a requirement to demonstrate duplication of the facts and issues. Id.

at 643−44 (citing Save Power Ltd. v. Syntek Fin. Corp., 121 F.3d 947, 950 (5th Cir. 1997)). The

court concluded that because the two cases involved similar claims, witnesses, substantially

related questions of fact, and overlapping discovery, “the court[] [was] entitled to be free from

the waste of duplicative litigation.” Id. at 645−46.

       Additionally, proceeding in this case while substantially overlapping issues remain

unresolved in the Oculus Litigation creates the risk of inconsistent decisions. See id. at 645

(allowing two courts to address the same claims creates “a heightened risk of inconsistent rulings

which, in turn, promotes uncertainty and impedes the administration of justice”) (citation

omitted). Given the overlap in legal issues, an appellate decision in the Oculus Litigation could

invalidate an early ruling in this case, which could require this Court to amend its own ruling and

potentially undo steps already completed in this litigation—precisely the kinds of inefficiencies a

stay is intended to prevent. See id.

           2. A stay will conserve judicial resources by streamlining the issues for trial.

       Efficiency is best served by a stay of this case pending final resolution of the Oculus

Litigation. Issues resolved in that case are likely to streamline and simplify the issues in this

case. See Greco, 116 F. Supp. 3d at 761. For example, if the Oculus Litigation trial or appellate

courts agree with the jury that none of the alleged Oculus conduct or technology misappropriated


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any of ZeniMax’s alleged trade secrets, then the determination on those actually-litigated issues

would be preclusive here and would dispose of ZeniMax’s trade secret claims against Samsung

(which are based on identical allegations and depend upon resolution of the same issues). See

Adaptix, Inc. v. AT&T Mobility LLC, No. 6:12-CV-120, 2015 WL 12696204, at *5 (E.D. Tex.

May 12, 2015) (a plaintiff who previously litigated and lost a claim is precluded from taking

“another bite a the apple”).

       Courts in this District regularly have granted stays when the resolution of a related case

would save the court and the parties time and resources. In Greco, the plaintiffs, a group of

ticket buyers in the Cowboys Stadium Super Bowl seating fiasco, moved for a stay pending the

resolution of a related case with “nearly identical factual and legal issues.” Id. at 760. The

related case involved different plaintiffs, but involved issues that would impact Greco.

Weighing the interests of the parties and the conservation of judicial resources, Judge Lynn

reasoned that the issues on appeal (e.g., DTPA claims, class certification) “[would] very likely

bear on [Greco]” because the final outcome would “likely streamline issues for dispositive

motions.” Id. at 761. The court concluded that “the risk of duplicative litigation [was] too great

for [the court] to ignore.” Id.; see also Wolf Designs, Inc., 341 F. Supp. 2d at 643−46 (same);

Inclusive Cmtys. Project, Inc. v. Tex. Dep’t of Hous. and Cmty. Affairs, No. 3:08-CV-0546-D,

2014 WL 2815683, at *2 (N.D. Tex. June 23, 2014) (Fitzwater, J.) (granting stay while certiorari

petition filed by the defendant was pending before the Supreme Court, partly to avoid expending

“resources necessary to litigate a claim” that may end up “not legally viable”); Trinity, 2002 WL

1315743, at *3 (granting stay in same parties’ litigation because it would be inefficient to

proceed only to find that the related “case was later remanded and that the parties were litigating

the same issues in two separate cases.”).




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          The court in Coker went a step further: “[s]taying a case pending in a district court in the

Fifth Circuit is appropriate when the district court anticipates that the Fifth Circuit will issue a

ruling in an unrelated case that addresses unresolved issues in the stayed case.” 161 F. Supp. 3d

at 495 (citing Lincoln Gen. Ins. Co. v. Autobuses Tierra Caliente, Inc., CIV. A. 3:04-CV-1535–

L, 2006 WL 2474096, at *1 (N.D. Tex. Aug. 28, 2006)) (emphasis added). The court reasoned

that waiting for the issues on appeal to be resolved, though in a case involving different parties,

might avoid unnecessary discovery, substantial expenses, and might simplify and resolve issues

presently before the court. Id.

             3. The anticipated impact of issue preclusion supports a stay.

          This case should be stayed for the additional reason that the final resolution in the Oculus

Litigation will likely have preclusive effects on this case. See Adaptix, Inc., 2016 WL 7364674,

at *2 (considering the preclusive effect of the appeal when deciding to grant a stay). Samsung is

not a party to the Oculus Litigation, and therefore cannot be bound by findings adverse to its

interests in that case. See, e.g., Taylor, 553 U.S. at 893 (“[O]ne is not bound by a judgment in

personam in a litigation in which he is not as designated as a party . . . .”) (quoting Hansberry v.

Lee, 311 U.S. 32, 40 (1940)). ZeniMax, however, is a party to the Oculus Litigation and had a

full opportunity to litigate its allegations—and on several critical issues received an adverse

result.

          Legal and factual issues decided against ZeniMax in the Oculus Litigation are binding in

this case under the doctrine of issue preclusion or collateral estoppel.          Collateral estoppel

“prevents a plaintiff who previously litigated (and lost) a claim that certain technology infringed

[] from taking ‘another bite at the apple’” and the doctrine “may be applied in subsequent

litigation involving parties who are not bound by the earlier judgment.” Adaptix, Inc., 2015 WL

12696204, at *5 (citing Transocean Offshore Deepwater Drilling, Inc. v. Maersk Contractors


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USA, Inc., 617 F.3d 1296, 1312 (Fed. Cir. 2010)) (emphasis added). By precluding parties “from

contesting matters that they have had a full and fair opportunity to litigate,” issue preclusion

protects against “the expense and vexation attending multiple lawsuits, conserv[es] judicial

resources, and foste[rs] reliance on judicial action by minimizing the possibility of inconsistent

decisions.” Taylor, 553 U.S. at 892 (citation and internal quotation marks omitted).

        Here, the jury determined that the Oculus technology does not utilize misappropriated

trade secrets, and that the conduct of the Oculus Defendants—including their creation and use of

certain technology—did not constitute tortious interference or unfair competition.          Oculus

Litigation Jury Verdict, No. 3:14-CV-01849-K, ECF No. 914 at 18, 51, 56. If those ZeniMax

losses become final, this case against Samsung will be simplified because the same issues are

presented here. Issue preclusion very likely will play a significant role in narrowing the issues in

this case due to the substantial overlap of the allegations, evidence, witnesses, and claims;

moving forward with this case before the Oculus Litigation issues have been finally adjudicated

will leave the parties and the Court subject to the possibility that Judge Kinkeade or the Fifth

Circuit will change the legal landscape of this case.        See Int’l Assoc. of Machinists and

Aerospace Workers v. Nix, 512 F.2d 125, 132 (5th Cir. 1975) (applying collateral estoppel

requires an already decided issue in the prior action). Therefore, staying this action is warranted

pending a final resolution in the Oculus Litigation.

        The Eastern District of Texas recently issued a stay in similar circumstances. Adaptix,

Inc., 2016 WL 7364674, at *1. Summary judgment was pending in two related cases involving

the same infringement issues disputed by AT&T in Adaptix. Id. In those two other cases, the

court granted summary judgment for defendants against Adaptix, and Adaptix appealed. Id. at

*1–2.   Based on that summary judgment, AT&T moved to dismiss on its case, based on




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preclusion. Id. at *1. Adaptix asked the court not to proceed in considering AT&T’s motion to

dismiss, arguing that the appeal in those two other cases would “control the decision on

[AT&T’s] preclusion motion[.]” Id. at *2. Rather than “needlessly” brief those issues again,

Adaptix requested a stay until that appeal was decided. Id. The court concluded:

       Staying the case pending appeal of the [other cases] will promote judicial
       efficiency and conserve the parties’ resources by alleviating the need at this time
       for briefing and consideration of AT&T’s preclusion motion. AT&T will suffer
       no prejudice from continuing the stay. Nor will the stay give Adaptix any tactical
       advantage. The Court, having considered the above factors, finds a stay of this
       case pending resolution of the appeals [in the other cases] would best serve the
       interests of the parties and judicial economy.

Id. In the same way here, there is no need for this Court or the parties to use resources

addressing issues that might ultimately be precluded by the final adjudication of the Oculus

Litigation.

              4. The early stage of this case favors a stay.

       A stay is appropriate in this case because it is still in its infancy—Defendants’ responsive

pleading deadline is still more than a month away. No scheduling order yet exists, and there is

no trial date set. Nor, of course, is there a date for fact discovery to begin; the parties have not

yet expended significant resources litigating the (largely overlapping) issues in this case.

“Staying a case at an early juncture ‘can advance judicial efficiency and maximize the likelihood

that neither the [c]ourt nor the parties expend their assets addressing invalid claims.’”

See Landmark Tech., LLC v. iRobot Corp., No. 6:13cv411 JDL, 2014 WL 486836, at *3 (E.D.

Tex. Jan. 24, 2014) (citing Market-Alerts Pty. Ltd. v. Bloomberg Fin. L.P., 922 F. Supp. 2d 486,

494 (D. Del. 2013) (alteration in original) (citation omitted)). The Federal Circuit previously

found this factor to “heavily” support a stay. See VirtualAgility Inc. v. Salesforce.com, Inc., 759

F.3d 1307, 1315–17 (Fed. Cir. 2014) (reversing denial of stay where “[d]iscovery had not yet




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begun and no trial date had been set”). Staying the case at the present juncture conserves the

Court’s and parties’ resources so that they will later be expended only on truly necessary issues.

B.        Samsung will suffer harm if forced to defend invasive and expensive litigation on
          issues that may ultimately be moot.

          Samsung will suffer harm if this case proceeds because it will be obligated to litigate

issues that likely will be mooted or narrowed by the finalization of the Oculus Litigation.

See Inclusive Cmtys. Project, Inc., 2014 WL 2815683, at *2 (pointing out that the claim before

the court might turn out to be “not legally viable” because of a pending appeal). ZeniMax raises

a litany of duplicative claims and issues in this case. Requiring Samsung to litigate these

unsettled issues would force Samsung to write motions on issues that may ultimately go away, to

serve and respond to invasive discovery that may become irrelevant, and to make strategy

decisions that may be altered once the Oculus Litigation concludes. Such burdensome wastes of

resources are inequitable, and completely unnecessary when a stay is possible. Landis, 299 U.S.

at 254.

C.        ZeniMax will not be unduly prejudiced by staying this litigation.

          A temporary stay of this case will not prejudice ZeniMax because it can later proceed

against Samsung on claims that remain legally viable. Indeed, ZeniMax cannot assert that time

is of the essence when it has known about Samsung’s relationship with Oculus at least since

shortly after the Oculus Litigation commenced—but chose not to pursue Samsung for nearly

three years. First Amended Complaint, ECF No. 12 at 23.

          ZeniMax also cannot be prejudiced by a stay because it does not compete with Samsung

in the marketplace, and thus there is no market share to be lost. See Straight Path IP Grp., Inc. v.

Verizon Commc’ns Inc., No. 16-CV-4236, 2016 WL 6094114, at *3 (S.D.N.Y. Oct. 18, 2016)

(“the Court simply sees no reason (and [plaintiff] provides none) why the stay of an infringement



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action initiated by [plaintiff] would impede its ability to license” technology in its portfolio).

Samsung manufactures and sells electronic devices. ZeniMax develops video games.

       The Oculus Litigation jury’s conclusions also demonstrate that there is no risk of harm to

ZeniMax if this litigation is temporarily halted. When asked what damages, if any, ZeniMax

would suffer in the future resulting from Oculus’s alleged infringement, the jury answered “zero

dollars.” See Oculus Litigation Jury Verdict, No. 3:14-CV-01849-K, ECF No. 914 at 48−49.

Nor will ZeniMax be irreparably harmed if this case is stayed.           Even if ZeniMax could

demonstrate that it is injured by the ongoing marketing and sale of the Samsung Gear VR

headset, damages could be recovered once the stay is lifted.

D.     The requested stay is of finite duration and appropriate given the type of evidence
       involved.

       The stay requested by Samsung is “within reasonable limits.” It would be a limited stay

of finite duration—until the Oculus Litigation goes through the post-trial and appellate process.

See Landis, 299 U.S. at 257. Courts frequently exercise their discretion to stay proceedings until

a related lawsuit has been resolved, see Greco, 116 F. Supp. 3d at 761, and a stay pending the

resolution of an appeal is not immoderate or considered to be of indefinite duration.

       Additionally, a limited delay will not cause this litigation to become stale. The case

centers on alleged copyright infringement and trade secret theft of specific lines and functions of

particular computer code. The vital evidence is digital in nature (and capable of archival storage)

and the number of relevant witnesses is limited, so the evidence is not likely to “fade” away with

time, nor the witnesses likely to become less accessible. See Wolf Designs Inc., 341 F. Supp. 2d

at 646 n.5 (granting stay in part because there was no evidence that discovery, testimony, or

documents presently available would not be available after the stay); cf. Andrews v. United

States, No. 4:05-CV-419, 2007 WL 2315964, at *2 (E.D. Tex. Aug. 10, 2007) (denying stay



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partly because the case relied on witnesses with military careers that would likely move away

with the passage of time).

IV.    Conclusion.

       In short, the conservation of judicial resources and the interests of the parties weigh

strongly in favor of granting a stay. As demonstrated by the complaint comparison table above,

there is substantial overlap between the issues in the Oculus Litigation and the core issues in this

case. Resolution of the Oculus Litigation could “determine the appropriateness and necessity of

the case before this Court” or at the very least redraw the contours of this litigation. See Trinity,

2002 WL 1315743, at *3.         A stay also will eliminate the risk of inconsistent decisions.

Otherwise, rulings made in this case later may be in conflict with an appellate decision in the

Oculus Litigation. Moreover, judicial economy and party interests require a stay, as neither this

Court nor the parties should be required to engage in discovery and grapple with motions on

issues that likely will be resolved in the Oculus Litigation.

       Samsung requests the Court to stay this case until the trial and appellate proceedings in

the Oculus Litigation are concluded.




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Dated:   June 23, 2017         Respectfully Submitted,

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                                 CERTIFICATE OF CONFERENCE

       Pursuant to Local Rule 7.1, I certify that on June 23, 2017, I spoke with Theodore

Stevenson, III, counsel for Plaintiffs, in an attempt to resolve the issues raised by this motion.

Mr. Stevenson told me that Plaintiffs will not agree to the relief requested here. Thus, the parties

have been unable to resolve the matter.


                                              /s/ Timothy S. Durst
                                              Timothy S. Durst




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                                    CERTIFICATE OF SERVICE

         I certify that on June 23, 2017, I caused a copy of the foregoing document to be served by

the Electronic Case Filing System for the United States District Court for the Northern District of

Texas.

                                              /s/ Ruben Gandia
                                              Ruben Gandia




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